AO 106 (Rev. 04/10) Application for a Search Warrant

                                          UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of Wisconsin

            In the Matter of the Search of:
                                                                     )
  Records and information associated with the cellular               )
  telephone assigned call number 414-234-2150 (Target                )       Case No.          ,                " - . •~
  Cell Phone 3) whose service provider is T-Mobile/Metro             )
  PCS.                                                               )
                                                                     )

                                          APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or prope1ty:

   See Attachment A.



located in the Eastern District of Wisconsin, there is now concealed:

   See Attachment B.




The basis for the search under Fed. R. Crim P. 41(c) is:
        lZI evidence of a crime;
        lZI contraband, fruits of crime, or other items illegally possessed;
        lZI propetiy designed for use, intended for use, or used in committing a crime;
        D a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: Title 21, United States Code, § 846, 841(a)(l) and 843(b).

The application is based on these facts: See attached affidavit.

D Delayed notice of _ _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ _ _ _ is requested
     under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                       Applicant's signature

                                                                     Special Agent Mark N. Wagner, WIDOJ-DCI
                                                                                       Printed Name and Title



Date: - - - , , - - z - - -

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City and State: Milwaukee, Wisconsin                                 Honorable William E. Duffin ,tu.S. Magistrate Judge
                                                                                       Printed Name and Title

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                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

       I, Mark Wagner, being first duly swom, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

        1.      I make this affidavit in support of an application for a search warrant under Federal

Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(l)(A) for infmmation about the location

of the cellular telephones assigned call number (646) 342-9958, ("Target Cell Phone 1" (TCPl)),

(414) 766-3834, ("Target Cell Phone 2" (TCP2)) and (414) 234-2150 ("Target Cell Phone 3"

(TCP3)). TCPl's service provider is AT&T Mobility (Cingular) telephone, which is a service

provider headquartered in North Palm Beach, Florida. TCP2's and TCP3's service provider is T-

Mobile/Metro PCS, which is a wireless telephone service provider headquartered in Parsippany,

New Jersey. TCPl is subscribed to "Prepaid Customer," of 1535 Broadway, New York, New

York. TCP2 is subscribed to "Harvey Donso," of 1360 West Windlake Avenue, Milwaukee,

Wisconsin.     TCP3 is subscribed to "Metro Customer," of 1352 West Windlake Avenue,

Milwaukee, Wisconsin. TCPl, TCP2 and TCP3 are described herein and in Attachment A, and

the location information to be seized is described herein and in Attachment B.

       2.       I am a Special Agent with the Wisconsin Department of Justice - Division of

Criminal Investigation (DCI), and have been since September, 2017. On May 22, 2018, I was

deputized as a Task Force Officer with the United States Drug Enforcement Administration

(DEA). Prior to my cmTent assignment, I was employed as a Detective with the City of Milwaukee

Police Department in Milwaukee, Wisconsin for twenty-five years. During the last 10 years of my

previous employment, I was a Task Force Officer with the FBI assigned to the Wisconsin High

Intensity Drug Trafficking Area (HIDTA) and the Joint Ten-orism Task Force (JTTF). During my

previous employment, I have been involved primarily in the investigation of large scale narcotics




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traffickers operating not only in the City of Milwaukee and the State of Wisconsin, but also

throughout the entire United States.

        3.       As a law enforcement officer, I have pmiicipated in the investigation of narcotics-

related offenses, resulting in the prosecution and conviction of numerous individuals and the

seizure of illegal drugs, weapons, stolen prope1iy, millions of dollars in United States cunency and

other evidence of criminal activity. As a narcotics investigator, I have interviewed many

individuals involved in drug trafficking and have obtained infonnation from them regarding

acquisition, sale, importation, manufacture, and distribution of controlled substances. Through my

training and experience, I am familiar with the actions, habits, traits, methods, and terminology

utilized by the traffickers and abusers of controlled substances. I have pmiicipated in all aspects of

drug investigations, including physical surveillance, execution of search watTants, undercover

transactions, and comi-ordered wiretaps, analysis of phone and financial records, and atTests of

numerous drug traffickers. I have been the affiant on many search wanants. I have also spoken on

numerous occasions with other experienced narcotics investigators, both foreign and domestic,

concerning the methods and practices of drug traffickers and money launderers. Fmihermore, I

have attended training courses which specialized in the investigation of narcotics trafficking and

money laundering. Through these investigations, my training and experience, and conversations

with other law enforcement personnel, I have become familiar with the methods used by drug

traffickers to manufacture, smuggle, safeguard, and distribute narcotics, and to collect and launder

trafficking-derived proceeds. I am fmiher aware of the methods employed by major narcotics

organizations to thwart any investigation of their illegal activities.

        4.       Based upon my training and experience, as well as information relayed to me during

the course of my official duties, I know that a significant percentage of narcotics, specifically

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marijuana, cocaine, heroin and methamphetamine, imported into the United States comes from

Mexico and enters the domestic market at various points along the southwest border of the United

States. Based on training and experience, I also know that a significant amount of cocaine,

marijuana, heroin and methamphetamine enters the United States through Mexico, which controls

the transpmiation and sale of cocaine, marijuana, heroin, and methamphetamine into the United

States.

          5.       Additionally, I know that illegal narcotic sales in the United States generate billions

of dollars annually, most of it in United States cmTency. Efforts to legitimize or "launder" this

cash by the drug distributors are subject to detection because of intense scrutiny placed on large

financial transactions by U.S. banks. To avoid detection, the cmiels developed a number of money

laundering systems to avoid financial transaction reporting requirements.

          6.       In addition, I have also learned narcotic traffickers routinely utilize narcotics

proceeds to purchase assets, to include: real propetiy and/or invest in legitimate business ventures.

By doing so, narcotics proceeds are introduced into the financial system. The narcotics traffickers

then utilize these assets to facilitate legitimate businesses designed to effectively launder drug

proceeds. Once the assets are no longer needed, they are sold, potentially for a profit. Based on

my training, experience, and conversations with other law enforcement officers, traffickers are

also known to take narcotics proceeds and smuggle them back to the source of supply for the drugs

through bulk currency transfers via vehicles or money orders.

          7.       Based on my experience in conducting criminal investigations of violations of the

Controlled Substances Act, I know that "Drug Trafficking Organizations" (DTOs) have developed

a number of methods to insulate their illegal activities from detection by law enforcement. These

methods are common to major DTOs to varying degrees of sophistication.

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        8.      Based on my training, experience, and conversations with other law enforcement

officers, I know that distributors of marijuana, methamphetamine, cocaine, heroin, as well as other

controlled substances, often utilize cellular and "hardline" telephones. Additionally, I know that

drug dealers often change their phone numbers and cellular devices on a frequent basis in an

attempt to thwart law enforcement from tracking their phones as well as a means to conceal their

identities.   Based on my training, experience, and conversations with other law enforcement

officers, I know that these individuals often use code words to discuss controlled substances and

methods of concealing controlled substances while talking on the telephone. Based on training,

experience, and conversations with other law enforcement officers, I know that violators of the

controlled substances law often conduct extensive counter-surveillance to avoid law enforcement

detection.

        9.     Based upon training and experience, I know that narcotics-trafficking and money-

laundering organizations routinely utilize several operational techniques to sustain their illegal

enterprises. These practices are designed and implemented to achieve two paramount goals:

(1) the successful facilitation of the organization's illegal activities, including the imp01iation and

distribution of controlled substances and the subsequent repatriation of the proceeds of that illegal

activity; and (2) the minimization of the exposure of organization members, patiicularly those

operating in management roles, from investigation and prosecution by law enforcement. More

specifically, based on my training and experience, I asse1i the following:

               a.      The more entrenched and sophisticated drug-trafficking organizations
                       routinely    compaiimentalize     their  illegal    operations.      The
                       compartmentalization of operations reduces the amount of knowledge
                       possessed by each member of the organization. This method of operation
                       effectively minimizes the potential damage an individual cooperating with
                       law enforcement could inflict on the organization and fmiher reduces the


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                       adverse impact of a paiiicular law enforcement action against the
                       organization.

               b.      Members of these organizations routinely utilize communications facilities,
                       i.e. cellular telephones, to communicate directions and information about
                       the organization's illegal activities to other organization members.

               c.      During the course of these telephonic communications, organization
                       members routinely use coded references and encryption in an effort to elude
                       law enforcement detection.

               d.      The communication of time sensitive information is critical to the
                       successful conduct of these organizations' illegal activities. The critical
                       nature of this information stems from the necessity of the organization's
                       management to provide direction for the imp01iation and distribution of
                       narcotics, as well as, the subsequent laundering of the proceeds of those
                       illegal activities.

               e.      Narcotics traffickers, and money launderers associated with them, often
                       confine their illegal telephonic communications to long-trusted
                       organizational members and other high-level narcotics traffickers in an
                       attempt to evade law enforcement and circumvent narcotics investigations;
                       and

               f.     Narcotics traffickers routinely utilize fictitious names, or other individuals,
                      in which to register pagers, telephones, vehicles, real propeiiy, and utility
                      services in order to avoid detection by law enforcement.

       10.     The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. Throughout this affidavit,

reference will be made to case agents. Case agents are those federal, state, and local law

enforcement officers who have directly paiiicipated in this investigation, and with whom your

affiant has had regular contact regarding this investigation. This affidavit is intended to show

merely that there is sufficient probable cause for the requested warrant and does not set fo1ih all

of my knowledge about this matter.




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        11.    Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of Title 21, United States Code, Sections 846, 841(a)(l), and 843(b) (conspiracy to

distribute controlled substances (cocaine and heroin) and use of a communication facility to

facilitate a drug-trafficking crime) are being committed, and will be committed by Javier

BERRIOS (Hispanic Male, DOB: 03/02/1976), Manuel PEREZ Jr. (Hispanic Male, DOB: 05-21-

1993), Chad ESSER (White Male, DOB: 04-14-1981) and other associates of their drug trafficking

organization ("BERRIOS DTO") who have yet to be identified. There is also probable cause to

believe that the location information described in Attachment B will constitute evidence of these

criminal violations, and will lead to the identification of individuals who are engaged in the

commission of these offenses.

                                      PROBABLE CAUSE

       12.     In Febrnary 2018, Wisconsin Depaiiment of Justice - Division of Criminal

Investigation (DCI) and members of the United States Drng Enforcement Administration -

Milwaukee (DEA) initiated a narcotics investigation regarding multiple individuals working

together to distribute large quantities of heroin and cocaine throughout Milwaukee, Wisconsin.

Two of those individuals were later identified as Paul LAVOE and Javier BERRIOS.

       13.     Case agents received inf01mation from a confidential source (hereinafter "CS # 1")

regarding the illegal drng trafficking activities of BERRIOS and LAVOE.            CS #1 has been

providing reliable information to DCI since February, 2018.         Specifically, CS #1 conducted

multiple controlled purchases of cocaine and heroin from BERRIOS and LAVOE.

       14.    Based upon my training and experience, I know that a "controlled buy" (and/or

controlled contact) is a law enforcement operation in which an informant purchases drugs from a

target. The operation is conducted using surveillance, usually audio and video taping equipment,

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and pre-recorded purchase money. When an informant is used, he/she is searched for contraband,

weapons, and money before the operation. The informant is also wired with a concealed body

recorder and monitoring device. When the transaction is completed, the informant meets cases

agents at a pre-determined meet location and gives the purchased drugs and the

recording/monitoring equipment to the case agents. The informant is again searched for

contraband, weapons, and money. Additionally, all telephone calls made by the informant while

under the direction and control of case agents are recorded.

       15.     CS # 1 has provided information about the membership, structure, and customs of

the BERRIOS DTO. CS #1 has positively identified BERRIOS and LAVOE, members of the

BERRIOS DTO, through Wisconsin Depaiiment of Transportation photographs.               CS #1 has

conducted several, consensually-recorded conversations with BERRIOS and LAVOE, including

audio and video recordings with LAVOE and BERRIOS, both in person and on the telephone

during the course of this investigation. CS # 1 has conducted controlled purchases of heroin and

cocaine from BERRIOS and LAVOE. CS #1 's information concerning the BERRIOS DTO has

been cmrnborated by other confidential sources, specifically confidential source #2 ("CS #2"),

information obtained from various public databases, physical surveillance, and through controlled

drug purchases, money deliveries and consensually-recorded conversations and phone calls that

CS #1 had with BERRIOS and LAVOE. CS #l's information has never been found to be false or

misleading.

       16.     CS #1 has a criminal history that includes arrests for Possession of a Firearm by a

Felon, Possession with the Intent to Deliver Cocaine and Heroin, Possession of Marijuana and

Cocaine, Bail Jumping, Theft, and Criminal Damage to Prope1iy. CS #1 is receiving consideration



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in connection with a pending drug case from the Milwaukee County District Attorney's Office for

his/her cooperation with law enforcement.

        17.    CS #2 has a criminal history that includes arrests for Domestic Violence -

Disorderly Conduct. CS #2 provided information against his/her penal interest and the information

was corroborated by law enforcement officers through public databases and law enforcement

reports. CS #2 has also provided information which has been c01Toborated through infonnation

provided by CS # 1.

       18.     CS #1 was interviewed by investigators in February, 2018 and provided detailed

information about the cmTent and past drug-trafficking activities of Paul LAVOE and Javier

BERRIOS. CS #1 has been purchasing up to four and a half (4.5) ounces of cocaine, twice a week,

from BERRIOS and LAVOE for the past year and a half. CS #1 explained he/she always has to

call LAVOE, and LAVOE will then call BERRIOS at telephone (414) 301-0926 (hereafter

Predecessor Phone 1 (PPl)). LAVOE contacts BERRIOS in order to arrange a meeting between

CS #1 and BERRIOS at LAVOE's business, "PL Power Cycles," located at 1531 South 1st Street,

Milwaukee, Wisconsin. BERRIOS will then meet CS #1 at LAVOE's business and sell cocaine

and/or heroin to CS #1. CS #1 has made four controlled buys of cocaine and heroin from Paul

LAVOE and Javier BERRIOS, between February 14, 2018 and to March 27, 2018.

       19.     CS#l stated BERRIOS also distributes large quantities of heroin to Desmond

LOVE (aka "YPN Rex."). According to CS#l, LOVE is part of a Milwaukee-based rap music

group, with members utilizing the "YPN" moniker on their names. CS#l stated the "YPN" stands

for "Young Paid Niggas" and "YPN" is believed to be a street gang operating in north Milwaukee,

Wisconsin. In addition to making/producing rap music, "YPN" is believed to be involved in violent

crimes, which include robbery, assault, and firearms-related crimes. Through an open-source

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query of social media, investigators identified numerous Facebook profile accounts with "YPN"

linked (Friends) to the "YPN Rex" profile. These accounts depict photographs, and videos of male

subjects posing with assault-style rifles and handguns with extended magazines.

       20.         The information CS #1 provided has been corroborated by case agents through

controlled purchases of cocaine and heroin (as described below).         For the reasons stated in

paragraphs 14 through 20, I consider CS #1 to be reliable.

       21.         On February 14, 2018, CS #1 made a controlled purchase of one ounce of cocaine

from Paul LAVOE and Javier BERRIOS. CS #1 contacted Paul LAVOE at telephone (414) 477-

3294. CS #1 explained to LAVOE that he/she wanted to "holler at Jay." LAVOE asked CS #1 if

he, LAVOE, was going to get a "percentage" this time. CS# 1 informed LAVOE that he/she would

talk to him about it when they met. LAVOE told CS #1 to come down to the shop. Approximately

an hour after CS #1 arrived at LAVOE'S business ("PL Power Cycles"), BERRIOS airived, and

BERRIOS sold CS #1 an ounce of cocaine for $1,100.00.

       22.         On February 25, 2018, case agents received a subpoena return of toll records for

the call number associated with LAVOE's telephone number for the time period of the controlled

buy on February 14, 2018. Case agents analyzed the toll records which revealed the following:

             111   09:11:29, LAVOE received an incoming call from CS #1 (1 minute and 1
                   second).

             111   09:13:11, LAVOE made an outgoing call to PPl, which is utilized by
                   BERRIOS (1 minute and 35 seconds).

             111   10:22:05, LAVOE made an outgoing call to CS #1 (16 seconds).

             •     10:22:39, LAVOE made an outgoing call to PPl) (42
                   Seconds).




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       23.      Case agents are aware the toll records directly reflect the times of recorded calls

made by CS #1 to LAVOE and the calls with LAVOE to BERRIOS (PPl) on February 14, 2018.

Case agents also learned through public database searches that PP 1 was associated with the

Facebook page of"J Garage." Case agents are aware through public databases, the registered agent

of"J Garage" is Javier BERRIOS.

       24.     On March 27, 2018, CS #1 made a controlled buy of cocaine and heroin from

BERRIOS and LAVOE. CS #1 called LAV OE and CS #1 asked LAV OE if he/she could meet at

LAVOE's business. After arriving CS #1 informed LAVOE that he/she needed to two (2) ounces

of cocaine and ten (10) grams of heroin. While in the presence ofCS#l, LAVOE called BERRIOS

at the PPl and stated "Mr. President, Mr. President, your son is hungry." LAVOE then tried to

explain to BERRIOS what CS #1 wanted and stated "two and three, two and four". CS #1 told

LAVOE "two and ten" and LAVOE repeated "two and ten." After approximately 30 minutes,

BERRIOS arrived at LAVOE's business and asked CS #1 what they wanted. CS #1 informed

BERRIOS that he/she wanted two (2) ounces of cocaine and ten (10) grams of heroin. BERRIOS

left the business and case agents' surveillance followed BERRIOS to 191 South 2nd Street,

Milwaukee, Wisconsin, which is believed to be BERRIOS "stash house." BERRIOS entered the

location for a shmi period of time and returned to LAVOE's business. After returning, BERRIOS

sold CS #1 two (2) ounces of cocaine and ten (10) grams of heroin for a total of $3,000.00.

       25.     On May 03, 2018, CS #1 made a controlled purchase of two (2) ounces of cocaine

and twenty (20) grams of heroin from LAVOE and BERRIOS. CS #1 contacted LAVOE, and

then LAVOE contacted BERRIOS at PPl. BERRIOS arrived at LAVOE's business and asked CS

# 1 what he/she needed. CS# 1 told BERRIOS he/she wanted two (2) ounces of cocaine and twenty

(20) grams of heroin. BERRIOS left LAVOE's business and case agents surveilled him to 191

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South 2nd Street. BERRIOS entered the building and exited a short time later. BERRIOS returned

to LAVOE's business and sold CS #1 two (2) ounces of cocaine and twenty (20) grams of heroin

for a total of $3,800.00.

        26.     On July 2nd , 2018, investigators conducted surveillance of"J Garage." During their

surveillance, investigators observed BERRIOS at the business.         Minutes later, investigators

observed a black male subject airive at "J Garage" and caiTy a large white bag into the business.

Approximately five minutes later, the same male subject exited the business canying the same

white bag and depatied the area. Investigators later identified the male subject as Desmond LOVE,

an alleged member of the "YPN" ("Young Paid Niggas") street gang. Based on their training and

experience, and the investigation to date, investigators believe LOVE had just conducted a

drug/money transaction with BERRIOS.

       27.     Investigators later analyzed the telephone tolls on BERRIOS' predecessor

telephone. On July 2, 2018 from approximately 9:42 a.m. to 12:55 p.m., BERRIOS was in

telephonic contact with telephone (414) 306-2287, a total of four times. Days later, investigators

contacted the Milwaukee County Probation/Parole office, who confirmed LOVE was under

supervision in Milwaukee with the same listed contact phone number as the number in contact

with BERRIOS as described above: (414) 306-2287.

       28.     Over the next several months, investigators continued to exploit all available

investigative leads into BERRIOS, including the identification of another predecessor phone

(PP2): (414) 915-4664. During this time, investigators learned that LAVOE was out of the

country. In Spring 2019, LAVOE returned to the Milwaukee, Wisconsin area. Investigators

attempted to reconnect CS #1 to BERRIOS through LAVOE, however, LAVOE was unwilling to

contact BERRIOS for the drug/money transaction.

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        29.    Investigators continued to conduct telephone toll analysis of PP2, and learned that

in mid-April 2019, BERRIOS appeared to transition to another telephone number: (414) 234-2150

(TCP3). On May 24, 2019, the Honorable Nancy Joseph, U.S. Magistrate Judge, Eastern District

of Wisconsin, authorized an order for a Pen Trap & Trace on BERRIOS' telephone (TCP3).

During this time, BERRIOS was in frequent contact with PPl, which investigators later learned

was the phone number displayed in the "J Garage" business window at 7520 West Stevenson

Street, Milwaukee, Wisconsin.

        30.    Additionally, BERRIOS (TCP3) was in frequent contact with telephone (646) 342-

9958 (hereinafter refe1Ted to as TCPl). TCPl's listed subscriber is "Manny Manuel," 1352 West

Windlake Avenue, Milwaukee, Wisconsin 53215. On August 13, 2019, TCPl was pmied to

AT&T wireless, which litsed the subscriber as "Prepaid Customer," 1535 Broadway, New York,

New York.

        31.    In late August 2019, investigators debriefed a Source oflnformation (SOI# 1) who

provided information on members of the BERRIOS DTO. SOI #1 stated he/she knew BERRIOS

through an associate, identified as Manuel PEREZ Jr. SOI #1 has known PEREZ Jr. for several

years, and provided TCPl as PEREZ Jr.'s cellular telephone number. SOI #1 stated BERRIOS

owned a vehicle repair shop on West Stevenson Street near 76th Street in Milwaukee, Wisconsin.

SOI#l stated BERRIOS utilizes the shop to distribute heroin and cocaine. SOI #1 stated PEREZ

Jr. works at BERRIOS' shop. SOI #1 also stated that PEREZ Jr. distributes narcotics on behalf

of BERRIOS and PEREZ Jr.'s father, Manuel PEREZ Sr. SOI #1 stated PEREZ Sr. also frequents

BERRIOS' shop in order to oversee the distribution of narcotics. SOI #1 believes the shop is

mainly a "front" for BERRIOS' drug trafficking activities, as SOI #1 has observed a relatively low

volume of vehicles being repaired during SOI #1 's visits to the shop. SOI #1 stated he/she believes

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that PEREZ Sr. obtains large quantities of narcotics (cocaine) from a yet unidentified source of

supply in Indiana.

        32.      SOI#l 's criminal history includes traffic offenses (Operating after Revocation,

Reckless Driving and Operating while Intoxicated).          SOI #1 is receiving consideration in

connection with a pending drng case from the Waukesha County District Attorney's office for

his/her cooperation with law enforcement.

        33.    SOI #1 further stated that in June 2019, SOI #1 began visiting BERRIOS' shop ("J

Garage," 7520 W. Stevenson Street, Milwaukee, Wisconsin.) at the direction of PEREZ Jr. While

there, PEREZ Jr. introduced SOI#l to BERRIOS and PEREZ Sr. Approximately one week later,

PEREZ Jr. brought SOI#l to PEREZ Jr. 's residence, located on South 71 st Street near West

Orchard, West Allis, Wisconsin.        While inside the residence, PEREZ Jr. showed SOI#l

approximately six (6) kilograms of cocaine, and six (6) kilograms of heroin. PEREZ Jr. and SOI# 1

discussed their ability to distribute that amount of narcotics. They agreed that it would be difficult

to distribute the quantity of heroin and cocaine in a reasonable time frame. SOI# 1 stated he/she

and PEREZ Jr. then loaded the narcotics in SOI #1 's vehicle and drove to BERRIOS's shop.

BERRIOS reluctantly received the narcotics and placed them inside his (BERRIOS) black

Mercedes SUV.

       34.     SOI #1 further stated that the next day, SOI #1 returned to BERRIOS' shop, where

BERRIOS provided SOI #1 with approximately one hundred (100) grams of heroin, and one (1)

kilogram of cocaine. SOI #1 stated the kilogram had the initials "JB" imprinted on it. SOI #I later

paid BERRIOS a partial payment of $16,000 while they were in the presence of PEREZ Sr.

       35.      SOI #1 stated that he/she and PEREZ Jr. obtained a second kilogram of cocaine

while at BERRIOS' shop, which they divided in half. SOI #1 stated while waiting for the cocaine,

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SOI #1 observed BERRIOS direct an employee, known to SOI #1 as "Chad," to go elsewhere to

retrieve the cocaine. SOI #1 stated that "Chad" depmied in an older-model Chevrolet Blazer and

then returned to the shop after a sho1i while. SOI #1 stated "Chad" brought SOI#l to "Chad's"

vehicle, where "Chad" removed the kilogram of cocaine from inside, before handing the cocaine

to SOI#l. SOI#l described "Chad" as a white male, mid-30's, shmi stature. Investigators believe

"Chad" is Chad ESSER, as suppmied by multiple surveillances of the shop, where ESSER is

present, and observed operating an older-model blue Chevrolet Blazer, with a white hood. SOI#l

stated he/she believed BERRIOS and PEREZ Sr. purposely avoid telephonic contact with their

distributors, instead relying on PEREZ Jr. and ESSER to contact and meet with these individuals

to further compaiimentalize their DTO.

       36.    Through previous telephone toll analysis of PPl and TCP3, investigators identified

a commonly called number of (414) 766-3834 (hereinafter referred to as TCP2), which is

subscribed to "Harvey Donso" of 1360 West Windlake Avenue, Milwaukee, Wisconsin 53215.

Fmiher analysis of this number showed it to be in frequent contact with two numbers identified as

belonging to Milwaukee area heroin and cocaine distributors. The first telephone number, (262)

383-0248, has been identified as belonging to Rafael CONCEPCION. CONCEPCION is currently

the target of a heroin and cocaine investigation by the Milwaukee Police Depmiment (ACISS Case:

18-9206). Fmihe1more, investigators have observed CONCEPCION during surveillance arriving

at BERRIOS' shop and BERRIOS' stash house located at 191 South 2nd Street, Milwaukee,

Wisconsin. On one occasion, investigators observed CONCEPCION arrive at BERRIOS's shop

and stay for a shmi duration.

       37.    The second telephone number in frequent contact with TCP2 is telephone (414)



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892-3971. Investigators identified this number as belonging to Rayvon EDWARDS. EDWARDS

is cmTently the target of a heroin and cocaine investigation by the Milwaukee Police Depaiiment

(ACISS Case: 19-4302). EDWARDS was previously identified as an associate of the "YPN"

street gang. Investigators have observed EDWARDS atTive at BERRIOS' shop on one occasion,

where EDWARDS stayed for a sholi duration. Additionally, EDWARDS is cun-ently on a GPS

ankle monitoring device for a previous State of Wisconsin drug arrest. Investigators have obtained

historical GPS location information on EDWARDS' device, which showed it to make several stops

at BERRIOS' shop over the last few months.

        38.    Lastly, investigators identified a number in contact with TCP2 listing to a Marlene

Esser. Investigators queried law enforcement databases, which listed a Marlene Esser with a

residence of 5926 South Packard Avenue, Lot 74, Cudahy, Wisconsin. Investigators fmiher

learned that Chad ESSER is also listed at this same address. Investigators believe M. Esser is the

mother of C. ESSER.

       39.     Based on investigators' training and experience, and the investigation to date,

investigators believe C. ESSER is the user ofTCP2. This belief is supp01ied by TCP2's frequent

contact with TCP3, the two identified drug distributors mentioned above, and contact with a

telephone listing to M. Esser. This belief is fmiher supported by statements made by SOI #1, that

BERRIOS and PEREZ Sr. use PEREZ Jr. and C. ESSER to communicate with area distributors

on their own cellular telephones (TCPl - PEREZ Jr.) (TCP2 - C. ESSER.) Investigators seek

authorization for GPS location inf01mation on TPCl, TCP2 and TCP3, to assist in monitoring

the movements of Berrios, PEREZ Jr. and C. ESSER as they pick up/drop off narcotics/narcotics-

related proceeds; identifying stash house locations throughout Milwaukee, Wisconsin, and any

out-of-state source locations (such as Indiana).

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        40.     The affiant is trained and experienced in the administration of the Nark II, 07 Field

Test, which tests for the presence of cocaine and cocaine base. The affiant is also trained and

experienced in the administration of the Nark II, 11 Field Test, which tests for the presence of

heroin. The affiant has used both field tests in the past and found them to be reliable; the affiant

subjected samples of the substances purchased from the confidential source in aforementioned

paragraphs (see paragraphs 22, 25 and 26) and that the results of the field tests were consistent with

the presence of cocaine and heroin, respectively.

        41. Case agents with DCI, DEA and Department of Homeland Security - Homeland

Security Investigations (HSI) are investigating Javier BERRIOS, Manuel PEREZ Sr., Manuel

PEREZ Jr., and Chad ESSER for conspiracy to distribute cocaine and heroin. The investigation

to date has included traditional law enforcement methods, including, but not limited to: controlled

buys, interviews with confidential sources and sources of information, information from other law

enforcement officers, documentary evidence, pen register, trap and trace, and telephone toll data,

recorded telephone calls with targets, and physical surveillance.

       42.     In my training and experience, I have learned that T-Mobile/Metro PCS and

AT &TMobility (Cingular) are companies that provides cellular telephone access to the general

public. I also know that providers of cellular telephone service have technical capabilities that

allow them to collect and generate at least two kinds of information about the locations of the

cellular telephones to which they provide service: (1) E-911 Phase II data, also known as GPS data

or latitude-longitude data, and (2) cell-site data, also known as "tower/face information" or cell

tower/sector records. E-911 Phase II data provides relatively precise location information about

the cellular telephone itself, either via GPS tracking technology built into the phone or by

triangulating on the device's signal using data from several of the provider's cell towers. Cell-site

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data identifies the "cell towers" (i.e., antenna towers covering specific geographic areas) that

received a radio signal from the cellular telephone and, in some cases, the "sector" (i.e., faces of

the towers) to which the telephone connected. These towers are often a half-mile or more apmi,

even in urban areas, and can be 10 or more miles apmi in rural areas. Fmihermore, the tower

closest to a wireless device does not necessarily serve every call made to or from that device.

Accordingly, cell-site data is typically less precise that E-911 Phase II data.

       43.     Based on my training and experience, I know that T-Mobile/Metro PCS and AT&T

Mobility (Cingular) can collect E-911 Phase II data about the location ofTCPl, TCP2, and TCP3

including by initiating a signal to determine the location of TCPl, TCP2, and TCP3, on T-

Mobile/Metro PCS's and AT&T Mobility (Cingular) network or with such other reference points

as may be reasonably available.

       44.      Based onmy training and experience, I know that T-Mobile/Metro PCS and AT&T

Mobility (Cingular) can collect cell-site data about the Target Cell Phones

                                AUTHORIZATION REQUEST

       45.     Based on the foregoing, I request that the Comi issue the proposed search wmrnnt,

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

       46.     I fmiher request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(±)(3), that the Comi authorize the officer executing the warrant to delay notice until

30 days after the collection authorized by the warrant has been completed. There is reasonable

cause to believe that providing immediate notification of the wa1rnnt may have an adverse result,

as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the Target

Cell Phone would seriously jeopardize the ongoing investigation, as such a disclosure would give

that person an oppotiunity to destroy evidence, change patterns of behavior, notify confederates,

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and flee from prosecution. See 18 U.S.C. § 3103a(b)(l). As further specified in Attachment B,

which is incorporated into the warrant, the proposed search wairnnt does not authorize the seizure

of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the wanant

authorizes the seizure of any wire or electronic communication (as defined in 18 U.S.C. § 2510)

or any stored wire or electronic information, there is reasonable necessity for the seizure for the

reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

        47.     I fu1iher request that the Comi direct T-Mobile/Metro PCS and AT&T Mobility

(Cingular) to disclose to the government any information described in Attachment B that is within

the possession, custody, or control ofT-Mobile/Metro PCS and AT&T Mobility (Cingular) for a

time period of 45 days from the date the wanant is signed. I also request that the Comi direct T-

Mobile/Metro PCS and AT&T Mobility (Cingular) to furnish the government all information,

facilities, and technical assistance necessary to accomplish the collection of the information

described in Attachment B unobtrusively and with a minimum of interference with T-

Mobile/Metro PCS's and AT&T Mobility (Cingular) services, including by initiating a signal to

determine the location of the Target Cell Phone on T-Mobile/Metro PCS's and AT&T Mobility

(Cingular) network or with such other reference points as may be reasonably available, and at such

intervals and times directed by the government. The government shall reasonably compensate T-

Mo bile/Metro PCS and AT&T Mobility (Cingular) for reasonable expenses incmTed in furnishing

such facilities or assistance.

        48.     I fmiher request that the Comi authorize execution of the wanant at any time of

day or night, owing to the potential need to locate the Target Cell Phones outside of daytime hours.




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                                  ATTACHMENT A

                               Property to Be Searched

1. The cellular telephones assigned call numbers (646) 342-9958, ("Target Cell Phone 1"

   (TCPl)), (414) 766-3834, ("Target Cell Phone 2" (TCP2)) and (414)234-2150 ("Target

   Cell Phone 3" (TCP3)), TCPl whose service provider is AT&T Mobility (Cingular)

   telephone service provider headquartered in North Palm Beach, Florida. TCP2 and TCP3

   whose service provider is T-Mobile/Metro PCS, a wireless telephone service provider

   headquartered in Parsippany, New Jersey.


2. Information about the location of the Target Cell Phones that is within the possession,

   custody, or control of T-Mobile/Metro PCS and AT&T Mobility if needed: including

   information about the location of the target telephones (TCPl, TCP2 and TCP3) if the

   telephone and/or telephones is and/or are subsequently assigned a different call number.




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                                        ATTACHMENT B

                                 Particular Things to be Seized

        All information about the location of the Target Cell Phones (TCPl, TCP2 and TCP3)

described in Attachment A for a period of f01iy-five days from the date the wanant is signed,

during all times of day and night. "Information about the location of the Target Cell Phones"

includes all available E-911 Phase II data, GPS data, latitude-longitude data, and other precise

location information, as well as all data about which "cell towers" (i.e., antenna towers covering

specific geographic areas) and "sectors" (i.e., faces of the towers) received a radio signal from the

cellular telephone described in Attachment A.

       To the extent that the information described in the previous paragraph (hereinafter,

"Location Information") is within the possession, custody, or control ofT-Mobile/Metro PCS and

AT&T Mobility (Cingular) , T-Mobile/Metro PCS and AT&T Mobility (Cingular) is required to

disclose the Location Information to the government. In addition, T-Mobile/Metro PCS and

AT&T Mobility (Cingular) must furnish the government all information, facilities, and technical

assistance necessary to accomplish the collection of the Location Information unobtrusively and

with a minimum of interference with T-Mobile/Metro PCS's and AT&T Mobility (Cingular)

services, including by initiating a signal to determine the location of the Target Cell Phones

(TCPl, TCP2 and TCP3) on T-Mobile/Metro PCS's and AT&T Mobility (Cingular) network or

with such other reference points as may be reasonably available, and at such intervals and times

directed by the government. The government shall compensate T-Mobile/Metro PCS and AT&T

Mobility (Cingular) for reasonable expenses incurred in furnishing such facilities or assistance.




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       This warrant does not authorize the seizure of any tangible prope1iy. In approving this

warrant, the Court finds reasonable necessity for the seizure of the Location Information. See 18

U.S.C. § 3103a(b)(2).




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